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 1   C. EMMETT MAHLE, SB#104069
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 2   901 H Street, Suite 203
     Sacramento, CA 95814
 3   (916) 447-1646
 4   Attorney for Defendant
     JOSEPH J. LEONE
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 8                               IN THE UNITED STATES DISTRICT COURT
 9                      IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         Case No.: Cr. CR S-07-510
12                  Plaintiff,                         STIPULATION AND (PROPOSED) ORDER.
13          vs.
14   JOSEPH JOHN LEONE, et al.
15                  Defendants.
16

17

18                                           STIPULATION
19          This matter is scheduled for Status Conference on December 7, 2007, at 9:00 a.m., in
20   the courtroom of the Honorable Garland E. Burrell, Jr. I have contacted counsel for the co-
21   defendant and counsel for the United States, AUSA Mary Grad, and they have all agreed,
22   subject to the court’s approval, to continue this matter until January 25, 2008, at 9:00 a.m.
23          All parties hereby agree and stipulate to a continuance of the Status Conference that is
24   scheduled for December 7, 2007, to January 25, 2008, at 9:00 a.m. in the courtroom of the
25   Honorable Garland E. Burrell, Jr. They further stipulate to the exclusion of time through that date
26   pursuant to Local Code T-4, as the above continuance is necessary for preparation of counsel.
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     STIP & ORDER

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 1   DATED:      12-06-07    _____                /s/ C. Emmett Mahle
 2                                               C. EMMETT MAHLE
                                                 Attorney for Defendant
 3                                               JOSEPH JOHN LEONE
 4
     DATED:      12-06-07    _____                /s/ Dwight Samuel
 5                                               DWIGHT SAMUEL
                                                 Attorney for Defendant
 6                                               MORRIS FRAZIER
 7
     DATED:      12-06-07    _____                /s/ Mary Grad
 8                                               MARY GRAD
                                                 Assistant U.S. Attorney
 9

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                                         (PROPOSED) ORDER
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12
                    GOOD CAUSE APPEARING, and by stipulation of all counsel, the Status
13
     Conference that is scheduled for December 7, 2007, at 9:00 a.m., is hereby continued to
14
     January 25, 2008, at 9:00 a.m., in the courtroom of the Honorable Garland E. Burrell, Jr. Time
15
     is excluded through that date pursuant to Local Codes T-4 for preparation of counsel.
16

17
     DATED: December 7, 2007
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19                                            GARLAND E. BURRELL, JR.
                                              United States District Judge
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     STIP & ORDER

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